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IN THE UNITED sTATES DISTRICT coURT BY §§ Dc'

 

FoR THE wESTERN DISTRICT oF TENNESSE
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§§W%Mf§d§__
FEDERAL EXPRESS coRP., CEH%%§$WYK§£§FU
ii\‘ f
Plaintiff,

V. NO. Ol-2503-MaP

ACCU SORT SYSTEMS, INC.,

Defendant.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is defendant's June 24, 2005, unopposed
motion to file a reply in further support of its motion in limine
to exclude certain testimony regarding knowledge of calibration
in the bar code scanning industry. For good cause shown, the
motion is granted and defendant may file its reply.

It is so ORDERED this'§g!é§day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Ru!e 58 and/or 79(a) FRCP on_MB

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Honorable Samuel Mays
US DISTRICT COURT

